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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

LYNCHBURG DIVISION
RICHARD BUILDING SUPPLY CO., )
Plaintiff,
¥. Case No. 6:19CVoo0004
BRIAN L. HEALEY, ;
Defendant.

STIPULATION OF DISMISSAL

The parties hereto stipulate and agree that this case is to be dismissed with prejudice

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). The Court shall retain jurisdiction to enforce the Joint

Consent Order [Docket No. 29]. Each party shall bear their own costs and attorney’s fees.

Date: May 13, 2019

   

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